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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

JANE DOE, et al.,
Plaintiffs, Civil Action No. 1:25-00286

Vv.

JAMES R. MCHENRY III, in his official
capacity as Acting Attorney General of the
United States; WILLIAM LOTHROP, in his
Official capacity as Acting Director of the
Federal Bureau of Prisons,

Defendants.

DECLARATION OF RICK STOVER,
SENIOR DEPUTY ASSISTANT DIRECTOR

DESIGNATION AND SENTENCE COMPUTATION CENTER

I, Rick Stover, declare and state as follows:

1, I am currently employed by the Federal Bureau of Prisons (Bureau). Since June
2024, I have served as the Senior Deputy Assistant Director of the Designation and Sentence
Computation Center, within the Bureau’s Correctional Programs Division.

2. Prior to becoming Senior Deputy Assistant Director of the Designation and
Sentence Computation Center, I worked in positions of increasing responsibility within the
Bureau, most recently as the Warden at the Federal Correctional Institution in Danbury,
Connecticut.

3. I am familiar with the Bureau’s general policies and practices on housing for
transgender inmates, including the rationales for those policies. As part of my official duties, I
have access to records maintained in the ordinary course of business by the Bureau, including
inmate medical and mental health records.

4. As the Senior Deputy Assistant Director within the Bureau’s Correctional

Programs Division, I am a member of the Transgender Executive Council (TEC). I am

or
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responsible for monitoring and providing guidance on transgender issues. I manage monthly or
twice monthly Transgender Executive Counsel (TEC) multi-disciplinary team meetings and
review all initial designations and re-designation requests of inmates self-identifying as
transgender in the Bureau. I am involved in the development of accommodations, resource
information, programs, and policy to ensure the needs of transgender inmates are met.

5. The information below is based upon personal knowledge and upon information
and belief.

6. As of January 10, 2025, there are 2,230 transgender inmates housed in BOP
facilities and halfway houses. There are 1,506 Male to Female Transgender inmates and 724
Female to Male Transgender inmates. The BOP currently has 16 Male to Female transgender

inmates living in female institutions.

7. Plaintiff, Jane Doe, is curently housed «tas

Pe: Doe is currently housed in general population.
8. Plaintiff, Mary Doe, is currently housed ot

a Mary Doe is currently housed in general population.

9, Plaintiff, Sara Doe, is currently housed ee
a Sara Doe is currently housed in general population.

10. The Transgender Executive Council reviewed the progress and current housing
placement of several of the BOP’s transgender inmates.

11. Indetermining the most appropriate placement for transgender inmates, the council
takes into consideration the inmates’ assigned security level, disciplinary record, medical record
and psychology record.

12. The council has found that low security facilities are primary options because each

houses a large number of non-violent offenders. Based on the council’s experience and range of
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expertise, placing Jane, Mary, and Sara Doe at a low security institution with non-violent offenders
would minimize the likelihood that they would be victimized.
In accordance with 28 U.S.C. § 1746, 1 declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge.

Dated: February 3, 2025

RICK STOVER
